            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:15 CR 85-4


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
ANNA MARIE POSTELL COCHRAN.            )
                                       )
______________________________________ )

      THIS MATTER came before the undersigned pursuant to a Motion for

Presentence Release (#464) filed by Defendant’s attorney. In the motion, Defendant

requests that she be released on terms and conditions of presentence release pursuant

to, what she contends, are exceptional circumstances as set forth under 18 U.S.C. §

3145(c). At the call of this matter on for hearing it appeared that Defendant was

present with her counsel Rich Cassady and the Government was present through

AUSA Don Gast. From the evidence offered and the arguments of counsel for

Defendant, the Court makes the following findings:

      Findings.    The Defendant called as a witness Heather Shehan. Ms. Shehan

is presently detained at the Cherokee County, North Carolina detention facility in

Murphy, North Carolina. Ms. Shehan is a cellmate with Defendant and has been

such since Defendant was detained after pleading guilty to the offense of conspiracy

to distribute methamphetamine in violation of 21 U.S.C. § 846. Defendant entered

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a plea of guilty on June 13, 2016 and at that time, the undersigned entered an Order

(#375) detaining Defendant, pursuant to the provisions of 18 U.S.C. § 3143(a)(2).

      Ms. Shehan testified that when Defendant first came to the detention facility,

Defendant could walk, read, use the phone, and was self-sufficient. Thereafter, Ms.

Shehan started noticing that the Defendant had spells of dizziness which the

Defendant thought was vertigo. Ms. Shehan then noticed that the physical condition

of Defendant began to deteriorate over the months of July, August and September.

The Defendant began to have to have assistance to go to the bathroom, which was

provided by Ms. Shehan and other inmates. Defendant could not shower by herself

and over the two week period beginning on September 19, 2016, Defendant was

having to sit in a wheelchair to take her showers. The Defendant and Ms. Shehan

are confined twenty-two hours out of every twenty-four hour day in their cell. It

appears from the testimony of Ms. Shehan that the majority of the care for Defendant

has been provided by Ms. Shehan and the two other cellmates in the cell pod.

      Dr. Kevin Cormier was called as a witness for Defendant. Dr. Cormier was

qualified as an expert witness as both a physician and as a radiologist by the

Defendant. Dr. Cormier testified that an MRI had been performed upon the brain

and cervical spine of the Defendant on September 22, 2016. Dr. Cormier analyzed

the report of the MRI and found that there were “multiple foci of white matter disease

involving the bilateral cerebral hemispheres, cerebellum and brainstem, some of
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which exhibit incomplete peripheral ring enhancement.” (Def’s Exhibit 1) It is Dr.

Cormier’s opinion that Defendant now has multiple sclerosis, or brain cancer. Dr.

Cormier further testified that for a definitive diagnosis, a neurologist would have to

perform an examination of the cerebral fluid of the Defendant and also a blood test

of the cerebral and spinal fluid of Defendant. Without these tests being made, a

definitive diagnosis cannot be made and appropriate treatment for the Defendant

cannot be administered. From the testimony of Dr. Cormier, multiple sclerosis

cannot be cured, but there is a type of treatment that can be administered to a person

at an early stage of the disease that can forestall and delay the ultimate fatal effects

of multiple sclerosis for many years. It is important that Defendant be examined by

a neurologist as rapidly as possible and that the definitive testing be performed so

that appropriate treatment can be provided to the Defendant, either for the principal

diagnosis of multiple sclerosis or the secondary diagnosis of brain cancer.

      Misty Postell was called as a witness by the Defendant. Ms. Postell is

Defendant’s mother. Ms. Postell has made arrangements for Defendant to be cared

for at Ms. Postell’s home on a twenty-four hour a day basis. Ms. Postell advised the

Court that if Defendant is released, she will immediately make arrangements for an

examination by a physician and request a referral as rapidly as possible for

Defendant to a neurologist so the appropriate testing of Defendant can be performed.

Ms. Postell testified that Defendant has qualified for medical care which will be paid
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for by Medicaid.

      Deputy U.S. Marshal, Mark Chapman, was called as a witness by the

Government. Marshal Chapman is the supervising deputy of the Marshal Service

for the Asheville and Bryson City divisions of the Western District of North

Carolina. Marshal Chapman testified he had been contacted by Defendant’s counsel,

Rich Cassady, over the past several weeks and had been advised that Defendant’s

condition was rapidly deteriorating. Marshal Chapman had made arrangements so

the Defendant could have the MRI testing performed. He has also tried to make an

appointment for Defendant with a neurologist, but has been advised it will be three

to six months before Defendant can see a neurologist. If treatment was provided

through the United States Marshal Service, this would be at no cost to Defendant.

      Discussion. 18 U.S.C. § 3145(c) provides, in part, as follows:

       (c) Appeal from a release or detention order.---

      A person subject to detention pursuant to section 3143(a)(2) or (b)(2),
      and who meets the conditions of release set forth in section 3143(a)(1)
      or (b)(1), may be ordered released, under appropriate conditions, by the
      judicial officer, if it is clearly shown that there are exceptional reasons
      why such person’s detention would not be appropriate.

      Motions for release, pursuant to 18 U.S.C. § 3145(c), have been referred to

the undersigned for determination. As guidance in making the determination, the

undersigned has reviewed United States v. Vilaiphone, 2009 WL 412958 (2009

W.D.N.C.) where United States District Judge Martin Reidinger defined what is
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meant by “exceptional reasons”.

      Courts generally have defined “exceptional reasons” as circumstances
      which are “clearly out of the ordinary, uncommon, or rare.” See United
      States v. Larue, 478 F.3d 924, 926 (8th Cir. 2007) (finding defendant’s
      compliance with terms of pretrial release, lack of criminal record,
      payment of child support, and continued employment were not
      exceptional reasons warranting release); United States v. Lea, 360 F.3d
      401, 403 (2d Cir. 2004) (“Exceptional circumstances exist where there
      is ‘a unique combination of circumstances giving rise to situations that
      are out of the ordinary.’”) (quoting United States v. DiSomma, 951 F.2d
      494, 497 *2d Cir. 1991)). The fact that the Defendant has cooperated
      with the Government and has complied with the terms and conditions
      of his pretrial release do not constitute exceptional reasons warranting
      his continued release pending sentencing. See United States v. Little,
      485 F.3d 1210, 1211 (8th Cir. 2007) (“It is not exceptional to expect
      every defendant to timely appear in court and to obey the court’s order
      concerning pretrial conditions of release. Nor it is clearly out of the
      ordinary, uncommon or rare for defendants to cooperate in the
      investigation of their criminal acts.”). Similarly, the Defendant’s lack
      of a significant criminal history and his gainful employment, while
      commendable, do not rise to the level of “exceptional reasons.” See
      Lea, 360 F.3d at 403-04 (“There is nothing ‘exceptional about going to
      school, being employed, or being a first-time offender, either separately
      or in combination.”). Finally, while the Court is cognizant of the
      hardships that the Defendant’s detention will create for his immediate
      family, such hardships are common to nearly every case involving a
      term of imprisonment and thus do not qualify as “exceptional reasons”
      under § 3145(c). See United States v. Garcia, 340 F.3d 1013, 1022 (9th
      Cir. 2003) (“Hardships that commonly result from imprisonment do not
      meet the standard.”); United States v. Mahabir, 858 F.Supp 504, 508
      (D.Md. 1994)(“A defendant’s incarceration regularly creates
      difficulties for him and his family. Courts have found that such purely
      personal considerations do not constitute exceptional reasons within the
      meaning of Section 3145(c).”)

    Applying “exceptional reasons” to the circumstances which now face this

Defendant, the undersigned finds that the physical condition of Defendant and her
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potential to have either multiple sclerosis or brain cancer, is an event that is “clearly

out of the ordinary, uncommon, or rare” for a Defendant who is confined and is

awaiting sentencing. It appears to the undersigned there is an urgency that testing

and treatment be provided for Defendant as rapidly as possible. Although the United

States Marshal Service has done an admirable job in obtaining an MRI for

Defendant, it is the Court’s belief that if Defendant is released on terms and

conditions of presentence release, a more immediate appointment can be obtained

for Defendant with a neurologist and appropriate testing can be performed so

treatment can begin for either multiple sclerosis or cancer. The undersigned is of

the opinion that such is an exceptional circumstance that merits the immediate

release of Defendant, that Defendant meets the conditions of release as set forth in

18 U.S.C. 3143(a)(1) and, as a result, the undersigned will grant the motion of

Defendant.

                                       ORDER

      IT IS, THEREFORE, ORDERED, that Motion for Presentence Release




(#464) is ALLOWED and Defendant be released on terms and conditions of

presentence release.


                                            6 October 7, 2016
                                         Signed:



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